                 Case 2:19-cr-00247-JCC Document 57 Filed 10/20/20 Page 1 of 2




                                                      THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                                CASE NO. CR19-0247-JCC
10                             Plaintiff,                     ORDER
11          v.

12   MATTHEW R. SCHLEY,

13                             Defendant.
14

15          This matter comes before the Court on Defendant Matthew Schley’s unopposed motion
16   to proceed with a plea hearing by video conference (Dkt. No. 56). Having thoroughly considered
17   the motion and the relevant record, the Court hereby GRANTS the motion for the reasons
18   explained herein.
19   I.     BACKGROUND
20          On November 27, 2019, Mr. Schley was charged by indictment with one count of being a
21   felon in possession of a firearm. (Dkt. No. 13.) He has been in custody since his arrest on this
22   charge. (See Dkt. Nos. 9, 11, 12.) After a continuance, trial was scheduled for June 15, 2020.
23   (See Dkt. No. 23.) But as a result of the COVID-19 pandemic’s impact in this district, the Court
24   vacated the trial date, continued trial to November 16, 2020, and concluded that the period of the
25   continuance was an excludable time period under 18 U.S.C. section 3161(h)(7)(A). (Dkt. Nos.
26   37, 54, 55.) The parties have now reached a plea agreement and Mr. Schley moves to enter a


     ORDER
     CR19-0247-JCC
     PAGE - 1
               Case 2:19-cr-00247-JCC Document 57 Filed 10/20/20 Page 2 of 2




 1   guilty plea by video conference. (Dkt. No. 56.) The Government does not oppose the request.

 2   II.    DISCUSSION

 3          Because of the health risks posed by the COVID-19 pandemic, the Court may conduct a
 4
     felony plea hearing by video conference if the defendant consents and the Court finds that the
 5
     plea hearing cannot be further delayed without serious harm to the interests of justice. See
 6
     Coronavirus Aid, Relief, and Economic Security (CARES) Act, Pub. L. No. 116-136,
 7

 8   §§ 15002(b)(2)(A), (b)(4), 134 Stat. 281, 528–29 (2020); W.D. Wash. General Order No. 14-20

 9   (Sept. 24, 2020), 04-20 (Mar. 30, 2020). Mr. Schley has a strong interest in the speedy resolution

10   of this matter. Under General Order 15-20, in-person proceedings will not resume until at least
11
     January 1, 2021. See W.D. Wash. General Order No. 15-20 at 2 (Oct. 2, 2020). The Court finds
12
     that unnecessarily delaying Mr. Schley’s guilty plea hearing, and therefore his sentencing, for at
13
     least three months, despite having already reached a plea agreement with the Government, would
14
     cause serious harm to the interests of justice.
15

16   III.   CONCLUSION
17          For the foregoing reasons, the Court GRANTS Defendant’s unopposed motion to proceed
18   with a plea hearing by video conference (Dkt. No. 56). The Court ORDERS that Defendant’s
19   guilty plea hearing before a Magistrate Judge be set as soon as practicable and be conducted by
20   video conference. The Court DIRECTS the presiding judge to establish a record of Defendant’s
21   consent for the hearing, in accordance with General Order No. 04-20.
22          DATED this 20th day of October 2020.




                                                          A
23

24

25

26                                                        John C. Coughenour
                                                          UNITED STATES DISTRICT JUDGE

     ORDER
     CR19-0247-JCC
     PAGE - 2
